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IN THE UNITED STATES DISTRICT COURT
FoR THE WESTERN DISTRICT or TENNESSEEQ:S ana -3 PH 1a 93
WESTERN I)IVISION

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UNITED STATES OF AMERICA
v.

BARRY MYERS 05cr20202-02-Ml

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on @MJ 5 2555 the United States Attorney
for this district appeared on behalf of the go(ernment, and the defendant appeared in person and With
counsel:

NAME`§%M %A’UA¢¢_J who is Retained/Appointed.

The defendant, through counsel, Waived formal arraignment and entered a plea of not gui lty.

All motions shall be filed Within thirty (3()) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

The defendant, Who is not in custody, may stand on his present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody
of the U.S. Marshal. ,._._-__~

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UNITED STATES MAGISTRATE ]UDGE

 

 

CHARGES: interfere With commerce by threat or violence - 18:1951
Attorney assigned to Case: T. DiScenza

Age: 3 g

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UNITED sTATE DRISTIC COUR - WSTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 10 in
case 2:05-CR-20202 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

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Honorable .l on McCalla
US DISTRICT COURT

